                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


BRETT DANIELS, an individual; and       CASE NO. 2:15-cv-01334-pp
BRETT DANIELS PRODUCTIONS,
INC., a Wisconsin corporation,

             Plaintiffs,

v.

SIMON PAINTER, an individual;
TIMOTHY LAWSON, an individual;
INTERNATIONAL SPECIAL
ATTRACTIONS, LTD., a Colorado
corporation; TML ENTERPRISES, PTY,
LTD., an Australian corporation; ASIA
LIVE NETWORK, PTE, LTD.,
a Singaporean corporation; and THE
WORKS ENTERTAINMENT, INC., a
Nevada corporation,

             Defendants.



 PLAINTIFFS BRETT DANIELS’ AND BRETT DANIELS PRODUCTIONS, INC.’S
MOTION FOR LEAVE TO FILE SURREPLY MEMORANDUM IN OPPOSITION TO
DEFENDANT PAINTER’S SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION TO
   DISMISS, TO TRANSFER, OR TO STAY AND RESPONSE TO PAINTER’S
             SUPPLEMENTAL BRIEF IN SUPPORT OF SAME




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       Plaintiffs Brett Daniels (“Daniels”) and Brett Daniels Productions, Inc. (“BDPI”)
respectfully request the Court’s leave to file the attached surreply in opposition to Defendant
Simon Painter’s (“Painter”) Motion to Dismiss, Transfer, or Stay (“Motion,” Dkt. 14) and
Painter’s Supplemental Brief filed in support of same (“Supplemental Brief,” Dkt. 35-1).
       Plaintiffs’ motion is made pursuant to Local Rule 7(i) because Defendants’ Supplemental
Brief was only recently filed (on February 12, 2016) and contains newly raised facts and legal
arguments. Specifically, the Supplemental Brief sets forth a new motion to dismiss for lack of
subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1) pertaining to the alleged arbitrability of
this case, which Plaintiffs have not had an opportunity to respond to.
       Further, new information dispositive to the Court’s decision has become available
(specifically, the recently announced Wisconsin production of the Illusionists) which was not
available (and did not exist) when Plaintiffs filed their opposition brief on January 8, 2016.
       The Court has discretion pursuant to its power to control the proceedings to grant leave to
file a surreply or to otherwise respond to new information and pleadings.             A surreply is
appropriate where new information relevant to the court’s decision on a motion has come to light
after the parties have filed all papers authorized under the rules, or where a party has not had any
opportunity to respond to an argument made for the first time in the last permitted paper. Both
tests are met here.
       WHEREFORE, Plaintiffs’ request leave to file the surreply brief attached hereto as
Exhibit A.


DATED: February 23, 2016                              GREENBERG TRAURIG, LLP


                                              By            /s/ Tyler R. Andrews
                                                             Tyler R. Andrews
                                                      Attorneys     for    Defendants,   BRETT
                                                      DANIELS        and    BRETT      DANIELS
                                                      PRODUCTIONS, INC.




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                                 CERTIFICATE OF SERVICE
       I, Tyler R. Andrews, an attorney, hereby certify that on February 23, 2016, I caused a
complete and accurate copy of the foregoing document to be served via this Court’s ECM/ECF
notification system, which will serve electronically to all participants in the case.


                                                       /s/ Tyler R. Andrews




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